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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In re:                                                        Case No.: 20-13368-LMI
Cynthia E. Ortiz,                                             Chapter 7
                Debtor.        /

                  DEBTOR’S MOTION FOR AUTHORITY TO REDEEM
               PERSONAL PROPERTY AND APPROVAL OF ASSOCIATED
                FINANCING AND ATTORNEY FEES UNDER 11 U.S.C. §722

             The Debtor, Cynthia E. Ortiz, by and through the undersigned counsel, moves the
Court, pursuant to 11 U.S.C. §722 and Bankruptcy Rule 6008, for a Redemption Order, and in
support thereof states:
         1. The item to be redeemed is tangible personal property intended primarily for personal,
            family or household use is more particularly described as follows:
                                     2019 Honda Civic Sedan 4D
                                   VIN No.: 19XFC2F6XKE026608

         2. The interest of the Debtor in such property is exempt or has been abandoned by the
            estate and the debt, which is secured by said property to the extent of the allowed
            secured claim of Capital One Auto Finance, a division of Capital One, N.A.
            (“Creditor”) is a dischargeable consumer debt.
         3. The allowed secured claim of said Creditor for purposes of redemption, the
            “redemption value”, should be determined to be not more than $16,425.00 as per
            agreement between the parties.
         4. Arrangements have been made by the Debtor to pay to the said Creditor up to the
            aforesaid amount in a lump sum should this Motion be granted.
         5. The payment for this proposed redemption is to be financed through Prizm Financial
            Co. LLC, with all of the particulars of that financing (interest rate, finance charge,
            amount financed, total of payments, amount of payments, etc.) set forth in full detail in
            the attachment(s) hereto. As demonstrated there, the monthly amount, term of the
            payments and the overall amount of the repayment will be decreased significantly
            through the proposed redemption. Moreover, the Debtor has agreed to borrow and
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           disperse additional funds in the amount of $700.00, from their loan with Prizm
           Financial Co. LLC, for representation of the Debtor in securing for the benefit of the
           Debtor an order granting the Debtor the right to redeem under 11 U.S.C. §722 a certain
           motor vehicle, such compensation being in addition to that previously disclosed and
           being for services rendered beyond the scope of the legal services to have been rendered
           for such compensation heretofore disclosed.

       WHEREFORE the Debtor, Cynthia E. Ortiz, respectfully requests the Court to order the
said Creditor to accept from the Debtor the lump sum payment of the redemption value and release
the lien of record and for whatever further relief this Honorable Court deems just and proper. In
the event the said Creditor objects to this Motion, the Debtor requests the Court to determine the
value of the property as of the time of the hearing on such objection, and for whatever further relief
this Honorable Court deems just and proper.

       Respectfully submitted this 15th day of June 2020.

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